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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

CHARLES HAGLER                         )
                                       )
             Plaintiff,                )
                                       )
v.                                     )     Case No. 2:15-cv-02314-JAR-TJJ
                                       )
EXPERIAN INFORMATION                   )
SOLUTIONS, INC.,                       )
                                       )
             Defendant.                )


                          JOINT STIPULATION OF DISMISSAL


      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Evelyn Hagler, as the substituted

Plaintiff in this matter, with the stipulation and agreement of Defendant, Experian

Information Solutions, Inc., hereby dismisses this action with prejudice, each party

to bear its own fees, costs, and expenses.




                                             Respectfully submitted,

                                             CREDIT LAW CENTER, LLC

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                                               and

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                                               Attorneys for Defendant
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                           CERTIFICATE OF SERVICE

       This certifies that on this 16th day of August 2016, the foregoing was
electronically filed with the Clerk of the Court by using the CM/ECF system, which will
send notification of such filing to all counsel of record.


                                                      /s/ Andrew M. Esselman
                                                      Attorney for Evelyn Hagler



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